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                            UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA


 MEHRANGIZ KAR, et al.,

        Plaintiffs,

 vs.
 ISLAMIC REPUBLIC OF IRAN                          Civil Action No.: 1:19-cv-02070

        Defendant



                                            ORDER

       This matter is before the Court on Plaintiffs’ motion for an order pursuant to 28 U.S.C. §

1610(c). (ECF No. 33). Under that provision, execution or attachment of property as provided in

28 U.S.C. §§ 1610(a)–(b) is permitted only if the Court “ordered such attachment and execution

after having determined that a reasonable period of time has elapsed following the entry of

judgment and the giving of any notice required under” 28 U.S.C. § 1608(e). 28 U.S.C. § 1610(c).

Based on the representations in Plaintiffs’ motion, and the entirety of the record, the Court finds

that Plaintiffs have given Defendant proper notice of the Court’s September 30, 2022 Order

entering judgment against Defendant, as required by 28 U.S.C. § 1608(e), and that a reasonable

period of time has elapsed since the entry of judgment and the giving of notice. Accordingly, it is

hereby ORDERED that Plaintiffs’ Motion is GRANTED. Plaintiffs may proceed to collect the

final default judgment by attachment or execution against the assets of Defendant.



       SO ORDERED.                                          __________________________

                                                            JOHN D. BATES
                                                            United States District Judge
Date: April __, 2023


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